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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

      Plaintiff,                                   CASE NO. 2:15-cv-01169-JRG-RSP

 v.                                                    JURY TRIAL DEMANDED

 ADAMS EXTRACT,                                               LEAD CASE

      Defendant.

 SYMBOLOGY INNOVATIONS, LLC,

      Plaintiff,                                   CASE NO. 2:15-cv-01180-JRG-RSP

 v.

 RALPH LAUREN CORPORATION,                             JURY TRIAL DEMANDED

      Defendant.



      DEFENDANT RALPH LAUREN CORPORATION’S ANSWER, AFFIRMATIVE
         DEFENSES, AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

          Defendant Ralph Lauren Corporation (“Ralph Lauren”) files this Answer and

 Counterclaims to Plaintiff Symbology Innovations, LLC’s (“Plaintiff”) Complaint. Ralph

 Lauren denies the allegations and characterizations in Plaintiff’s Complaint unless

 expressly admitted in the following paragraphs.




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                              PARTIES AND JURISDICTION

        1.     Ralph Lauren admits that the Complaint purports to set forth an action for

 patent infringement and the Plaintiff purports to seek injunctive relief as well as

 damages, but denies that Plaintiff is entitled to any relief from Ralph Lauren.

        2.     Ralph Lauren admits that the Complaint purports to set for an action for

 patent infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.,

 and that this Court has subject matter jurisdiction over this case for patent infringement

 under 28 U.S.C. §§ 1331 and 1338(a).

        3.     Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 3 of the Complaint and, on that

 basis, denies all such allegations.

        4.     Ralph Lauren admits that it is a corporation organized and existing under

 the laws of the State of Delaware, with a principal place of business at 650 Madison

 Ave, New York, NY 10022.

        5.     Ralph Lauren denies the allegations of Paragraph 5 of the Complaint.

        6.     Ralph Lauren denies the allegations in Paragraph 6 of the Complaint.

                                          VENUE

        7.     Ralph Lauren admits that venue may be proper. Ralph Lauren denies that

 venue is convenient in this judicial district as to Ralph Lauren. Ralph Lauren denies it

 has committed acts of infringement and, on that basis, denies the remaining allegations

 of Paragraph 7.



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                                        COUNT I

          8.    Ralph Lauren incorporates by reference the answers to paragraphs 1–7

 above.

          9.    Ralph Lauren admits that the Complaint purports to set forth a claim

 under the patent laws of the United States. Ralph Lauren otherwise denies the

 remaining allegations of Paragraph 9 of the Complaint.

          10.   Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 10 of the Complaint and, on that

 basis, denies all such allegations.

          11.   Ralph Lauren admits that a purported copy of U.S. Patent No. 8,424,752

 (the “’752 Patent”) is attached to the complaint as Exhibit A and that the face of that

 patent indicates that it is entitled “System and Method for Presenting Information about

 an Object on a Portable Electronic Device.” Ralph Lauren lacks knowledge sufficient to

 confirm or deny if the document attached as Exhibit A is a true and correct copy of the

 ’752 Patent. Ralph Lauren otherwise denies the remaining allegations in paragraph 11.

          12.   Ralph Lauren denies the allegations in Paragraph 12 of the Complaint.

          13.   Ralph Lauren denies the allegations in Paragraph 13 of the Complaint.

          14.   Ralph Lauren denies the allegations in Paragraph 14 of the Complaint.

          15.   Ralph Lauren denies the allegations in Paragraph 15 of the Complaint.

          16.   Ralph Lauren denies the allegations in Paragraph 16 of the Complaint.




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          17.   Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 17 of the Complaint and, on that

 basis, denies all such allegations.

                                        COUNT II

          18.   Ralph Lauren incorporates by reference the answers to paragraphs 1–17

 above.

          19.   Ralph Lauren admits that the Complaint purports to set forth a claim

 under the patent laws of the United States. Ralph Lauren otherwise denies the

 remaining allegations of Paragraph 19 of the Complaint.

          20.   Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 20 of the Complaint and, on that

 basis, denies all such allegations.

          21.   Ralph Lauren admits that a purported copy of U.S. Patent No. 8,651,369

 (the “’369 Patent”) is attached to the complaint as Exhibit B. Ralph Lauren denies that

 the ’369 Patent is entitled “System and Method for Presenting Information about an

 Object on a Portable Electronic Device.” Ralph Lauren lacks knowledge sufficient to

 confirm or deny if the document attached as Exhibit B is a true and correct copy of the

 ’369 Patent. Ralph Lauren otherwise denies the remaining allegations in paragraph 21.

          22.   Ralph Lauren denies the allegations in Paragraph 22 of the Complaint.

          23.   Ralph Lauren denies the allegations in Paragraph 23 of the Complaint.

          24.   Ralph Lauren denies the allegations in Paragraph 24 of the Complaint.

          25.   Ralph Lauren denies the allegations in Paragraph 25 of the Complaint

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          26.   Ralph Lauren denies the allegations in Paragraph 26 of the Complaint

          27.   Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 27 of the Complaint and, on that

 basis, denies all such allegations.

                                        COUNT III

          28.   Ralph Lauren incorporates by reference the answers to paragraphs 1–27

 above.

          29.   Ralph Lauren admits that the Complaint purports to set forth a claim

 under the patent laws of the United States. Ralph Lauren otherwise denies the

 remaining allegations of Paragraph 29 of the Complaint.

          30.   Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 30 of the Complaint and, on that

 basis, denies all such allegations.

          31.   Ralph Lauren admits that a purported copy of U.S. Patent No. 8,936,190

 (the “’190 Patent”) is attached to the complaint as Exhibit C and that the face of that

 patent indicates that it is entitled “System and Method for Presenting Information about

 an Object on a Portable Electronic Device.” Ralph Lauren lacks knowledge sufficient to

 confirm or deny if the document attached as Exhibit C is a true and correct copy of the

 ’190 Patent. Ralph Lauren otherwise denies the remaining allegations in paragraph 31.

          32.   Ralph Lauren denies the allegations in Paragraph 32 of the Complaint.

          33.   Ralph Lauren denies the allegations in Paragraph 33 of the Complaint.

          34.   Ralph Lauren denies the allegations in Paragraph 34 of the Complaint.

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        35.    Ralph Lauren Denies the allegations in Paragraph 35 of the Complaint

        36.    Ralph Lauren Denies the allegations in Paragraph 36 of the Complaint

        37.    Ralph Lauren is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 37 of the Complaint and, on that

 basis, denies all such allegations.

                                   PRAYER FOR RELIEF

        Ralph Lauren denies the Plaintiff is entitled to any relief from Ralph Lauren and

 denies all the allegations contained in Paragraphs a-e of Plaintiff’s Prayer for Relief.

                                AFFIRMATIVE DEFENSES

        Ralph Lauren’s Affirmative Defenses are listed below. Ralph Lauren reserves the

 right to amend its Answer to add additional Affirmative Defenses, including allegations

 of inequitable conduct, consistent with the facts discovered in this case.

                             FIRST AFFIRMATIVE DEFENSE

        38.    Ralph Lauren has not infringed and does not infringe, under any theory of

 infringement (including directly (whether individually or jointly) or indirectly (whether

 contributorily or by inducement)), and valid, enforceable claim of the ’752, ’369, and

 ’190 Patents (collectively, the “Asserted Patents”).

                            SECOND AFFIRMATIVE DEFENSE

        39.    Each asserted claim of the Asserted Patents is invalid for failure to comply

 with one or more of the requirements of the United States Code, Title 35, including

 without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

 laws pertaining thereto.

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                           THIRD AFFIRMATIVE DEFENSE

       40.    To the extent that Plaintiff and any predecessors in interest to any of the

 Asserted Patents failed to properly mark any of their relevant products or materials as

 required by 35 U.S.C § 287, or otherwise give proper notice that Ralph Lauren’s actions

 allegedly infringe the Asserted Patents, Ralph Lauren is not liable to Plaintiff for the

 acts alleged to have been performed before it received actual notice that it was allegedly

 infringing the Asserted Patents.

                          FOURTH AFFIRMATIVE DEFENSE

       41.    To the extent that Plaintiff asserts that Ralph Lauren indirectly infringes,

 either by contributory infringement or inducement of infringement, Ralph Lauren is not

 liable to Plaintiff for the acts alleged to have been performed before Ralph Lauren knew

 that its actions would cause indirect infringement.

                            FIFTH AFFIRMATIVE DEFENSE

       42.    Plaintiff’s attempted enforcement of the Asserted Patents against Ralph

 Lauren is barred by one or more of the equitable doctrines of laches, estoppel,

 acquiescence, waiver, and unclean hands.

                            SIXTH AFFIRMATIVE DEFENSE

       43.    The claims of the Asserted Patents are not entitled to a scope sufficient to

 encompass any system employed or process practiced by Ralph Lauren.




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                            SEVENTH AFFIRMATIVE DEFENSE

          44.    Plaintiff’s Complaint fails to state a claim upon which relief can be granted

 because the Asserted Patents do not claim patentable subject matter under 35 U.S.C.

 § 101.

                             EIGHTH AFFIRMATIVE DEFENSE

          45.    To the extent Plaintiff contends that it alleges a claim for indirect

 infringement (whether by inducement or contributorily), Plaintiff has failed to state a

 claim upon which relief can be granted.

                           OPPENHEIMER’S COUNTERCLAIMS

          For   its   counterclaims   against   Plaintiff   Symbology    Innovations,    LLC

 (“Symbology”), Counterclaim Plaintiff Ralph Lauren Corporation (“Ralph Lauren”),

 alleges as follows:

                                           PARTIES

          1.     Counterclaim Plaintiff Ralph Lauren Corporation is a corporation

 organized and existing under the laws of the State of Delaware, with a principal place

 of business in New York, NY.

          2.     Upon information and belief based solely on Paragraph 3 of the

 Complaint as plead by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC,

 is a limited liability company organized and existing under the laws of the State of

 Texas and maintains its principle place of business at 1400 Preston Road, Suite 400,

 Plano, Texas 75093.




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                                      JURISDICTION

        3.     Ralph Lauren incorporates by reference paragraphs 1–2 above.

        4.     These counterclaims arise under the patent laws of the United States, Title

 35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

 § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

        5.     Symbology has consented to the personal jurisdiction of this court by at

 least commencing their action for patent infringement in this district, as set forth in its

 Complaint.

        6.     Based solely on Symbology’s filing of this action, venue is proper, though

 not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                         COUNT I

                DECLARATION REGARDING NON-INFRINGEMENT

        7.     Ralph Lauren incorporates by reference paragraphs 1–6 above.

        8.     Based on Symbology’s filing of this action and at least Ralph Lauren’s first

 affirmative defense, and actual controversy has arisen and now exists between the

 parties as to whether Ralph Lauren infringes the ’752, ’369, and ’190 Patents.

        9.     Pursuant to the Federal Declaratory Judgement Act, 28 U.S.C. §2201 et seq.,

 Ralph Lauren requests a declaration by the Court that Ralph Lauren has not infringed

 and does not infringe any claim of the ’752, ’369, and ’190 Patents under any theory

 (including   directly   (whether   individually    or   jointly)   or   indirectly   (whether

 contributorily or by inducement)).




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                                          COUNT II

                      DECLARATION REGARDING INVALIDITY

        10.    Ralph Lauren incorporates by reference paragraphs 1–9 above.

        11.    Based on Symbology's filing of this action and at least Ralph Lauren’s

 Second Affirmative Defense, and actual controversy has arisen and now exists between

 the parties as to the validity of the claims of the ’752, ’369, and ’190 Patents.

        12.    Pursuant to the Federal Declaratory Judgement Act, 28 U.S.C. §2201 et seq.,

 Ralph Lauren requests a declaration by the Court claims of the ’752, ’369, and ’190

 Patents are invalid for failure to comply with one or more of the requirements of United

 States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112,

 and the rules, regulations, and laws pertaining thereto.

                                    PRAYER FOR RELIEF

        WHEREFORE, Ralph Lauren asks this Court to enter judgment in Ralph

 Lauren’s favor and against Symbology by granting the following relief:

        a)     a declaration that the ’752, ’369, and ’190 Patents are invalid;

        b)     a declaration that Ralph Lauren does not infringe, under any theory, any

 valid claim of the ’752, ’369, and ’190 Patents that may be enforceable;

        c)     a declaration the Symbology take nothing by its Complaint;

        d)     judgement against Symbology and in favor of Ralph Lauren;

        e)     dismissal of the Complaint with prejudice;

        f)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

 award to Ralph Lauren of its costs and attorneys’ fees incurred in this action; and

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       g)     further relief as the Court may deem just and proper.

                                   JURY DEMAND

       Ralph Lauren hereby demands trial by jury on all issues.

 Dated: November 2, 2015                    Respectfully submitted,

                                            FISH & RICHARDSON P.C.



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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and

 foregoing document has been served on November 2, 2015, to all counsel of record who

 are deemed to have consented to electronic service via the Court’s CM/ECF system per

 Local Rule CV-5(a)(3).



                                            /s/ Ricardo J. Bonilla
                                                           Ricardo J. Bonilla




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